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                            EXHIBIT L
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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 IN RE GOOGLE DIGITAL ADVERTISING                   Civil Action No. 1:21-md-03010-PKC
 ANTITRUST LITIG.


                              CROSS NOTICE OF DEPOSITION

        TO ALL PARTIES AND THEIR ATTORNEY OF RECORD:

        PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of Civil Procedure

 and the Order Regarding Coordination of Discovery (ECF No. 564), the MDL Plaintiffs will take

 the deposition of Neal Mohan, commencing on Monday, August 7, 2023 at 9:00 a.m., at the U.S.

 Attorney’s Office for the Eastern District of Virginia, located at 2100 Jamieson Ave., Alexandria,

 VA 22314, or as otherwise agreed to by the parties. The deposition will be conducted by oral

 examination before a certified court reporter authorized to administer oaths and will continue from

 day to day until completed. The deposition will be recorded by stenographic means and by

 videotape.

 Dated: July 19, 2023                         BOIES SCHILLER FLEXNER LLP

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                                     The MDL Plaintiffs’ Discovery Steering Committee




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                                CERTIFICATE OF SERVICE

        I, Philip Korologos, hereby certify that on July 19, 2023, I caused the foregoing Cross

 Deposition Notice to be served via email on the following counsel:

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        Counsel for Defendants Google LLC, Alphabet Inc., and YouTube LLC

 Dated: July 19, 2023                     BOIES SCHILLER FLEXNER LLP

                                          s/ Philip Korologos
                                          Philip Korologos




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